               Case 1:16-cr-00281-PGG Document 924 Filed 01/06/21 Page 1 of 2
Fried, Frank, Harris, Shriver & Jacobson LLP

One New York Plaza
New York, New York 10004
Tel: +1.212.859.8000
Fax: +1.212.859.4000
www.friedfrank.com



                                                                                           Direct Line: +1.212.859.8592
                                                                                           Email: steven.witzel@friedfrank.com


                                                                                           January 6, 2021

BY ECF

Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

             Re:          United States v. Brandon Green, S5 16 Cr. 281 (PGG)

Dear Judge Gardephe:

        Your Honor appointed me to be consulting stand-by counsel for Brandon Green, who is
proceeding pro se. I respectfully write to inform you that after yesterday’s conference, Mr.
Green wrote to inform me that: (i) Mr. Green no longer wishes to have us as consulting counsel
and wants to proceed pro se on his own; and (ii) Mr. Green wishes to appear for all further
conferences with the Court in person, rather than via telephone. Unfortunately, we are unable to
further communicate with Mr. Green because he removed me and my colleagues from his
Corrlinks account.

        Before Mr. Green’s email, we mailed Mr. Green a copy of the Court’s November 19,
2020 Order and the attorney-client privilege waiver form, along with the Court’s January 5, 2021
Order. We included a postage paid envelope and asked Mr. Green to send the completed waiver
and affidavit to us. If we receive these documents from Mr. Green, we will assist by filing them
on the docket. Additionally, after yesterday’s conference, we spoke with AUSA Feinstein who
informed us that she also sent the waiver to Mr. Green and will send him the Court’s November
19, 2020 Order and January 5, 2021 Order as well. The Government also requested that the
MDC Brooklyn legal department provide Mr. Green with a copy of the waiver, and inquired
about the package we sent Mr. Green that he stated he did not receive. The package appears to
be in processing by the facility and will be provided to Mr. Green soon.

        Even assuming that we will not be proceeding as stand-by counsel as per Mr. Green’s
direction, we will continue to send Mr. Green the documents from his case file that he is
permitted to have, consistent with the Protective Order in this case. We plan to provide him with
documents that we received from his attorneys at Duane Morris and from Ms. Dolan, absent any
protected 3500 material, as well as exhibits, transcripts and other materials. Mr. Green asked for
hard copy of all documents, which will take longer to process, but we expect that this production

New York • Washington • London • Frankfurt
Fried, Frank, Harris, Shriver & Jacobson LLP is a Delaware Limited Liability Partnership
            Case 1:16-cr-00281-PGG Document 924 Filed 01/06/21 Page 2 of 2
Fried, Frank, Harris, Shriver & Jacobson LLP



Honorable Paul G. Gardephe                                            January 6, 2021
                                                                      Page 2

to him should be completed in advance of the February 9 conference. We will also plan to attend
the conference on February 9, 2021, unless the Court advises otherwise.

                                                   Respectfully submitted,




                                                   Steven M. Witzel

Cc:       AUSA Jessica Feinstein (by ECF)
          Brandon Green (by mail)
